              Case 23-00131-ELG                   Doc 1      Filed 05/16/23 Entered 05/16/23 09:40:13                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                5703 9th, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5703 9th Street NW
                                  Washington, DC 20011
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dist. of Columbia                                               Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    5703 9th, LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5313

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    5703 9th, LLC                                                                                   Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   5703 9th, LLC                                                          Case number (if known)
         Name

                          $50,001 - $100,000                        $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                         $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                         $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    5703 9th, LLC                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 15, 2023
                                                  MM / DD / YYYY


                             X   /s/ William Lansing                                                      William Lansing
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Brent C. Strickland                                                   Date May 15, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Brent C. Strickland
                                 Printed name

                                 Whiteford, Taylor & Preston, L.L.P.
                                 Firm name

                                 111 Rockville Pike
                                 Suite 800
                                 Rockville, MD 20850
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (410) 347-9402                Email address      bstrickland@wtplaw.com

                                 452880 DC
                                 Bar number and State




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Fill in this information to identify the case:

Debtor name         5703 9th, LLC

United States Bankruptcy Court for the:     DISTRICT OF DISTRICT OF COLUMBIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 15, 2023                    X /s/ William Lansing
                                                           Signature of individual signing on behalf of debtor

                                                            William Lansing
                                                            Printed name

                                                            Manager
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name 5703 9th, LLC
 United States Bankruptcy Court for the: DISTRICT OF DISTRICT OF                                                                             Check if this is an
                                                COLUMBIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Arcill Engineering                                  Mechanical/Electri                                                                                            $4,564.00
 929 West Broad                                      cal/Plumbing
 Street, #249                                        Engineer
 Falls Church, VA
 22046
 District of Columbia                                Property taxes,                                                                                               $7,066.26
 Office of Tax and                                   upcoming tax sale
 Revenue
 1101 4th Street SW
 Washington, DC
 20024
 District of Columbia                                Permit fee balance                                                                                           Unknown
 Department of
 Building
 1100 4th Street SW
 Washington, DC
 20024
 Erie Insurance                                      Insurance                                                                                                       $822.00
 Company
 100 Erie Ins. Place
 Erie, PA 16530
 Nicholas Jung                                       Architect services                                                                                            $6,000.00
 NSJ LLC
 2819 Bargate Court
 Crofton, MD 21114
 WCP Fund 1 LLC                                      Real property                                            Unknown                   Unknown                   Unknown
 2815 Hartland Road,                                 located at 5703
 Suite 200                                           9th Street NW,
 Falls Church, VA                                    Washington, DC
 22043                                               20011
 William Lansing                                     Loans of $2,500                                                                                             $11,000.00
 1101 Connecticut                                    and $8,500
 Avenue NW
 Suite 450
 Washington, DC
 20036



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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                                                      United States Bankruptcy Court
                                                           District of District of Columbia
 In re    5703 9th, LLC                                                                                           Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
James C. Smith                                                                                                               Member
5703 9th Street NW
Washington, DC 20011

Natalie Denise Bell                                                                                                          Member
5703 9th Street NW
Washington, DC 20011

Nicola Regina Bell                                                                                                           Member
5703 9th Street NW
Washington, DC 20011

Reginald Sanford Bell                                                                                                        Member
5703 9th Street NW
Washington, DC 20011


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date May 15, 2023                                                        Signature /s/ William Lansing
                                                                                        William Lansing

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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LOCAL OFFICIAL FORM 102

                                        UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DISTRICT OF COLUMBIA
In re                                                                                         )
5703 9th, LLC                                                                                 )       Case No.
                                                                                              )
                                                                                              )         Chapter     11
                                                                  Debtor.                     )

                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U.S.C. § 329(a) and Federal Rule of Bankruptcy Procedure 2016(b), I certify that I am the attorney for the above named debtor
     and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
     rendered or to be rendered on behalf of the debtor in contemplation of or in connection with the bankruptcy case is as follows:

          For legal services, I have agreed to accept a flat fee of                                    $
          Filing Fee                                                                                   $                   1,738.00
          Prior to the filing of this statement I have received                                        $                   2,500.00
          Balance Due                                                                                  $                        0.00

                                                                           OR

I have agreed to provide services on the following terms and conditions (i.e., hourly or without compensation on a pro bono basis). If pro bono,
questions 2, 3, and 4 may be omitted


2.        The source of the compensation paid to me was:
                     Debtor              Other (specify):     Loan from Manager

3.        The source of compensation to be paid to me is:
                   Debtor             Other (specify):

4                    I have not agreed to share the above-disclosed compensation with any other person unless they are members or associates of my
          law firm

                    I have agreed to share the above-disclosed compensation with another person or persons who are not members or associates of
          my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.        In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.   2016-2(b) if taking the no-look fee
     d.   [Other provisions as needed]

6.        By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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                                                                CERTIFICATION
          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor in
this bankruptcy proceeding.

Date: May 15, 2023                                                      /s/ Brent C. Strickland
                                                                        Signature of attorney
                                                                        Brent C. Strickland
                                                                        Name, Bar Number
                                                                        Whiteford, Taylor & Preston, L.L.P.
                                                                        Firm
                                                                        111 Rockville Pike
                                                                        Suite 800
                                                                        Rockville, MD 20850
                                                                        Address
                                                                        (410) 347-9402
                                                                        Telephone
                                                                        bstrickland@wtplaw.com
                                                                        Email Address




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                                      United States Bankruptcy Court
                                         District of District of Columbia
In re   5703 9th, LLC                                                       Case No.
                                                       Debtor(s)            Chapter    11


                              LIST OF CREDITORS AND MAILING MATRIX


               1.       The attached list, serving both as the list required by Rule

               1007(a)(1) of the Federal Rules of Bankruptcy Procedure and as the

               mailing matrix required by the court's local Bankruptcy Rules, consists

               of   2    pages and a total of   12   entities listed.


               2.       The attached list contains a true and correct name and address of:

                           each of my creditors (those entities required to be scheduled on

                           Schedules D, E, and F, the Schedules of Creditors Holding

                           Claims, in this case),


                           each of the parties required to be listed on Schedule G -

                           Executory Contracts and Unexpired Leases, that is, the parties

                           other than myself, to any unexpired lease of real or personal

                           property to which I am a party;




                                                     1 of 2
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                        each entity required to be listed on Schedule H - Codebtors (any

                        entity, other than my spouse in a joint case, that is also liable on

                        any debts owed to any of my listed creditors, including all

                        guarantors and co-signers).


I declare under penalty of perjury that the foregoing is true and correct.



Date:   May 15, 2023                       /s/ William Lansing
                                           William Lansing/Manager
                                           Signer/Title




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     Arcill Engineering
     929 West Broad Street, #249
     Falls Church, VA 22046



     District of Columbia
     Office of Tax and Revenue
     1101 4th Street SW
     Washington, DC 20024



     District of Columbia
     Department of Building
     1100 4th Street SW
     Washington, DC 20024



     Erie Insurance Company
     100 Erie Ins. Place
     Erie, PA 16530



     James C. Smith
     5703 9th Street NW
     Washington, DC 20011



     Natalie Denise Bell
     5703 9th Street NW
     Washington, DC 20011



     Nicholas Jung
     NSJ LLC
     2819 Bargate Court
     Crofton, MD 21114



     Nicola Regina Bell
     5703 9th Street NW
     Washington, DC 20011



     Reginald Sanford Bell
     5703 9th Street NW
     Washington, DC 20011
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 Russell S. Drazin, Trustee
 Pardo & Drazin
 4400 Jennifer Street NW, Suite 2
 Washington, DC 20015



 WCP Fund 1 LLC
 2815 Hartland Road, Suite 200
 Falls Church, VA 22043



 William Lansing
 1101 Connecticut Avenue NW
 Suite 450
 Washington, DC 20036
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                                         United States Bankruptcy Court
                                             District of District of Columbia
 In re   5703 9th, LLC                                                                Case No.
                                                             Debtor(s)                Chapter    11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for 5703 9th, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 15, 2023                                    /s/ Brent C. Strickland
Date                                            Brent C. Strickland
                                                Signature of Attorney or Litigant
                                                Counsel for 5703 9th, LLC
                                                Whiteford, Taylor & Preston, L.L.P.
                                                111 Rockville Pike
                                                Suite 800
                                                Rockville, MD 20850
                                                (410) 347-9402
                                                bstrickland@wtplaw.com
